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                   Exhibit 1
Sent:    Tue 10/12/2021 4:53:17 AM (UTC)
From:                Case 3:21-cv-05227-JD Document 360-2 Filed 03/27/23 Page 2 of 3
         sundar©google.com
To:      sundar©google.com, emilysinger©google.com
Subject: AAAArXi46TM-MBI-THREADED:SBgcVRDjcBQ°/0°/0°/02021-10-11T09:53:16.093967


 sundar@google.com 2021-10-12T04:53:16.093Z

 Need the link for my leaders circle tomorrow

 sundar@google.com 2021-10-12T04:53:28.379Z

 also can we change the setting of this group to history off

Deleted on2021-10-12T04:53:37.199Z

 also can we change the setting of this group to history off

 sundar@google.com 2021-10-12T04:53:29.309Z

 thanks

 emilysinger@google.com 2021-10-12T04:53:40.021Z

 Sure: here is link...

 emilysinger@google.com 2021-10-12T04:53:45.767Z

 https://docs.google.com/document/d/161xXL kOok6NhDXOnTZw-tr76LZpg0DBp CfqTdotTs/edit?resourcekey=0-
  CNmvgHKQGULhTywnpcXgg

 https://drive.google.com/open?id=161xXL kOok6NhDXOnTZw-tr76LZpg0DBp CfqTdotTs
 https://docs.google.comidocument/d/16bAL kOok6NhDXOnTZw-tr76LZpg0DBp CfqTdotTs/edit?resourcekey=0-
  CNmvgHKQGULhTywnpcXgg
 sundar@google.com 2021-10-12T04:55:19.177Z

 thanks

 sundar@google.com 2021-10-12T05:17:38.026Z

 the third question is a bit of a mess

 sundar@google.com 2021-10-12T05:17:58.544Z

 not fully clear - as it covers a lot and long meandering answer which not clear too

 sundar@google.com 2021-10-12T05:18:11.582Z

 am talking about google apps , building for companies, future of work etc

 sundar@google.com 2021-10-12T05:18:17.418Z

 the other three are good

 emilysinger@google.com 2021-10-12T05:18:25.635Z

 Ok will take a look and try to restructure to make cleare

 emilysinger@google.com 2021-10-12T05:18:27.855Z


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r
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emilysinger@google.com 2021-10-12T05:59:17.394Z

I simplified the answer for Q # 3 considerably. Just two parts to it now, both of which will be familiar themes. Sorry it took
a bit to get there.

sundar@google.com 2021-10-12T06:09:06.559Z

Thanks!




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